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   16 Moog Inc.
   17
   18                              UNITED STATES DISTRICT COURT
   19                            CENTRAL DISTRICT OF CALIFORNIA
   20 MOOG INC.,                                          Case No. 2:22-cv-09094-GW-MAR
   21                     Plaintiff,                      [PROPOSED] ORDER GRANTING
                                                          PLAINTIFF AND COUNTER-
   22            v.                                       DEFENDANT MOOG INC.’S
                                                          APPLICATION FOR LEAVE TO
   23 SKYRYSE, INC. ROBERT ALIN                           FILE UNDER SEAL DESIGNATED
      PILKINGTON, MISOOK KIM, and                         MATERIALS FROM ITS
   24 DOES NOS. 1-50,                                     AMENDED TRADE SECRET
                                                          IDENTIFICATION
   25                     Defendants.
   26                                                     Judge: Hon. George H. Wu
                                                          Magistrate Judge: Hon. Margo A.
   27                                                     Rocconi
   28
                                                      -1-               Case No. 2:22-cv-09094-GW-MAR
        SMRH:4887-0696-7676    [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                           UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
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    1
         SKYRYSE, INC.,
    2
                              Counterclaimant,
    3             vs.
    4    MOOG INC.,
    5                         Counter-Defendant.
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                                                        -2-               Case No. 2:22-cv-09094-GW-MAR
        SMRH:4887-0696-7676      [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                             UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
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    1           The Court, having considered Plaintiff and Counter-Defendant Moog Inc.’s
    2 Application for Leave to File Documents Under Seal in Support of Moog’s
    3 Amended Trade Secret Identification, and all evidence and argument in support and
    4 opposing it, and with compelling reason being shown, hereby GRANTS the
    5 Application and ORDERS that the following documents or portions thereof
    6 identified in Moog’s Opposition be filed under seal:
    7
    8
              DOCUMENT                      Designating Party                    Ruling
    9
         Moog’s Amended               Moog                             Sealed in its entirety.
   10    Trade Secret
         Identification (Non-
   11    CUI)
   12
         Exhibits 1-2 to              Moog                             Sealed in its entirety.
   13    Moog’s Amended
         Trade Secret
   14    Identification (Non-
         CUI)
   15
         Moog’s Amended               Moog                             Sealed in its entirety.
   16    Trade Secret
         Identification (CUI)
   17
   18    Exhibit A to Moog’s          Moog                             Sealed in its entirety.
         Amended Trade
   19    Secret Identification
         (CUI)
   20
   21           IT IS SO ORDERED.
   22
              September 11
   23 DATED: ___________________, 2023
   24
   25
                                                          The Honorable Margo A. Rocconi
   26
                                                          United States Magistrate Judge
   27
   28
                                                     -3-               Case No. 2:22-cv-09094-GW-MAR
        SMRH:4887-0696-7676   [PROPOSED] ORDER GRANTING MOOG INC.’S APPLICATION FOR LEAVE TO FILE
                                          UNDER SEAL DESIGNATED MATERIALS FROM ITS AMENDED TSID
